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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )             CASE NO. 8:05CR267
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )                    ORDER
                                              )
ALFREDO RODRIGUEZ, JR.,                       )
                                              )
              Defendant.                      )

        The Court has been advised that the defendant requests permission to enter a plea

of guilty.

        IT IS ORDERED that:

      1.      This case, insofar as it concerns this defendant, is removed from the trial
docket.

        2.    A hearing on the defendant’s anticipated plea of guilty is scheduled before
District Judge Laurie Smith Camp on the 6th day of October, 2005, at the hour of 2:30
p.m. in Courtroom No. 2, Third Floor, Roman L. Hruska Courthouse, 111 S. 18 th Plaza,
Omaha, Nebraska.

        3.     At least one (1) working day in advance of the plea proceeding, counsel for
shall file electronically the following: a) the Petition to Enter a Guilty Plea; and b) any
written plea agreement. Additionally, at least one (1) working day in advance of the plea
proceeding, counsel shall either file or provide by e-mail to smithcamp@ned.uscourts.gov
a copy of any charging document not yet on file that is the subject of the plea documents.

      4.      On or before the date for the plea proceeding, counsel for plaintiff and for
defendant shall provide to the assigned probation officer their respective versions of the
offense for purposes of preparing the presentence investigation report.

       5.     For this defendant, the time between today’s date and the hearing on the
anticipated plea of guilty is excluded for purposes of computing the limits under the Speedy
Trial Act. See 18 U.S.C. §§ 3161(h)(1)(I), (h)(8)(A) & (h)(8)(B). Any objection to this
speedy trial exclusion must be filed within five (5) working days of the filing date of this
Order.

        DATED this 3rd day of October, 2005.

                                                  BY THE COURT:

                                                  s/Laurie Smith Camp
                                                  United States District Judge
